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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION

U-SAVE AUTO RENTAL OF AMERICA, INC.                   PLAINTIFF/COUNTER-DEFENDANT

vs.                                             CIVIL ACTION NO. 3:15cv00348-DPJ-FKB

ROBERT M. BARTON                                      DEFENDANT/COUNTER-PLAINTIFF


                      APPLICATION FOR WRIT OF GARNISHMENT


TO THE CLERK OF THE UNITED STATES DISTRICT COURT:

        Defendant/Counter-Plaintiff, Robert M. Barton, hereby makes application to the
Clerk of the United States District Court to issue a Writ of Garnishment in the above case to
satisfy a judgment rendered on February 12, 2016, against Plaintiff/Counter-Defendant, U-
Save Auto Rental of America, Inc., for $596,645.44, plus pre-judgment and post-judgment
interest. The balance of the judgment that remains unsatisfied as of March 22, 2016,
including accrued interest is $728,327.88. Daily interest accrues in the amount of $152.12
through August 22, 2016.

      The undersigned hereby suggests that REGIONS BANK may have funds on account
and may be indebted to or have property in its hands belonging to U-Save Auto Rental of
America, Inc.

      You are hereby requested to issue a Writ of Garnishment as directed by law to
Regions Bank, who may be served by delivering a copy of the Writ of Garnishment to any
bank officer.

       WITNESS MY SIGNATURE this the 22nd day of March, 2016.

                                                /s/ O. Stephen Montagnet, III
                                          O. STEPHEN MONTAGNET, III
                                          Attorney for Plaintiff
OF COUNSEL:

O. Stephen Montagnet, III, MSB #10049
W. Thomas McCraney, III, MSB #10171
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                                 CERTIFICATE OF SERVICE

       I, O. Stephen Montagnet, III, attorney for Defendant/Counter-Plaintiff, Robert M.

Barton, do hereby certify that I have this date caused to be served through the Court’s

CM/ECF filing system, the foregoing pleading, which sent electronic notification of this

document’s filing to all counsel of record.

       This the 22nd day of March 2016.



                                    By:       /s/ O. Stephen Montagnet, III
                                              O. Stephen Montagnet, III
                                              Attorney for Plaintiff/Counter-Defendant




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